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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater       *    MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April      *
   20, 2010                                      *    SECTION: J
                                                 *
                                                 *
                                                 *    HONORABLE CARL J. BARBIER
                                                 *
                                                 *    MAGISTRATE JUDGE SHUSHAN
                                                 *
                                                 *

Plaisance, et al., individually                  *
and on behalf of the putative Medical            *    NO. 12-CV-968
Benefits Settlement Class,                       *
                                                 *    SECTION: J
              Plaintiffs,                        *
                                                 *
v.                                               *    HONORABLE CARL J. BARBIER
                                                 *
BP Exploration & Production Inc.,                *    MAGISTRATE JUDGE SHUSHAN
et al.,                                          *
                                                 *
              Defendants.                        *
                                                 *

                   [PROPOSED] QUALIFIED PROTECTIVE ORDER

       Before the Court is the Parties’ Joint Motion for Entry of Qualified Protective Order

(Rec. Doc. __).1   Having considered the record of these proceedings, the arguments and

recommendation of counsel for the moving parties, and the requirements of law, the Court

GRANTS the Parties’ joint motion as follows:

       IT IS HEREBY ORDERED AS FOLLOWS:


1
  Terms with initial capital letters used in this Order have the meanings ascribed to the fully
capitalized rendering of such terms in the Medical Benefits Class Action Settlement Agreement,
as amended (“Medical Settlement Agreement”), unless otherwise defined herein.
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       1.       The Court has preliminarily appointed the Garretson Firm Resolution Group, Inc.

d/b/a Garretson Resolution Group as the Claims Administrator2 to implement and administer the

Medical Benefits Class Action Settlement Agreement, including the authority to take such

actions on behalf of class members in the above captioned matter to resolve any and all potential

recovery claims for medical items, services, and/or prescription drugs with Governmental

Payers,3 Medicare Part C and/or Part D Program sponsors, and/or Other Payers/Providers

(collectively, “Payers”).

       2.       This Order shall apply to the use of all information related to claimants that the

Claims Administrator creates, provides to, or receives from Payers that is or may be protected

under HIPAA or other applicable federal or state law, including all Protected Health

Information.4

       3.       The Claims Administrator, which is tasked under Section XXIX of the Medical

Settlement Agreement with identifying and resolving potential liens, claims, or rights of

subrogation, indemnity, reimbursement, conditional or other payments, or interests of any type
2
  As set forth in the Medical Benefits Class Action Settlement Agreement, the Claims
Administrator shall perform lien identification and resolution functions, which includes the
following duties and functions: (1) the authority to act on behalf of the Medical Benefits Class
Action Members; (2) the authority to receive and release identifiable health information; and
(3) the authority to resolve any potential recovery claim associated with the Medical Benefits
Class Action.
3
  Governmental Payers means “any federal, state, or other governmental body, agency,
department, plan, program, or entity that administers, funds, pays, contracts for, or provides
medical items, services, and/or prescription drugs….” Medical Settlement Agreement, § II.II.
These include CMS, the Medicare Secondary Payer Department, and the Medicaid programs of
each state and territory and of the District of Columbia (each a “Medicaid Agency”).
4
 This includes demographic information that could be used to identify Medicare-eligible and/or
Medicaid-enrolled claimants, information related to claimants’ eligibility for and entitlement to
benefits under the Medicare Program and Medicaid Program and information related to health
care services rendered, including the payment of such services.

                                                2
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for medical items, services, and/or prescription drugs paid on behalf of class members, is

specifically authorized to provide to and receive from CMS and individual Medicaid Agencies

lists of claimants and related information, in lieu of providing copies of individual HIPAA

authorizations and information on a claimant-by-claimant basis. The Claims Administrator is

specifically authorized to provide to and receive from other Payers lists of claimants, and related

information, who have identified such Payers in their claim forms and/or as to whom the Claims

Administrator is otherwise on notice that such Payers have or may have asserted against such

claimants a lien, claim, or right of subrogation, indemnity, reimbursement, conditional or other

payments, or interest of any type for medical items, services, and/or prescription drugs paid on

their behalf.



        SIGNED AND ENTERED this ____ day of _________________, 2012.

                                                     ______________________________
                                                     The Honorable Judge Carl Barbier




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